
655 S.E.2d 836 (2007)
Barney BRITT
v.
STATE of North Carolina.
No. 488A07.
Supreme Court of North Carolina.
December 6, 2007.
Dan L. Hardway, for Barney Britt.
John Aldridge, III, Special Deputy Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 649 S.E.2d 402.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 4th day of October 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 6th day of December 2007."
Accordingly, only those issues which are the basis of the dissenting opinion in the *837 Court of Appeals shall be presented to this Court in briefs. The Plaintiff's new brief so limited in scope shall be filed with this Court not more that 30 days from the date of certification of this order.
